              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF FLORIDA
                       PENSACOLA DIVISION
IN RE: 3M COMBAT ARMS                      CASE NO.: 3:19-MD-2885-MCR-GRJ
EARPLUG LITIGATION
LIABILITY LITIGATION
                                              Judge M. Casey Rodgers
This Document Relates to:                     Magistrate Judge Gary Jones
 All Cases




 DEFENDANT 3M COMPANY’S OPPOSITION TO PLAINTIFF VALLE’S
       MOTION FOR TEMPORARY RESTRAINING ORDER
      Plaintiff’s motion for a TRO is a misplaced and misguided effort to ask this

Court to preemptively rule on the scope of the automatic stay and the implications

of the recent chapter 11 filings on the pending proceedings in this MDL. The law is

overwhelmingly clear that the bankruptcy court will have the ultimate say on the

scope of the automatic stay, including whether it requires a stay of the proceedings

in this MDL. As this Court acknowledged this morning, “ultimately Chief Judge

Graham will decide” this question, “and then, beyond that, the Seventh Circuit Court

of Appeals.” 07/27/2022 Tr. at 14:25-15:16; see also id. at 15:22-25 (THE COURT:

“Again, ultimately, the bankruptcy court and the Seventh Circuit will decide these

issues.”). And Plaintiff clearly “knows about the debtor’s bankruptcy case” and

“that the bankruptcy court is available to determine whether the stay applies,” In re

Sehman, No. 21-30141-KKS, 2022 WL 548000, at *3 (Bankr. N.D. Fla. Feb. 23,
2022) (emphasis added), as lead counsel for Plaintiff has appeared at the ongoing

hearing in the bankruptcy court on this very issue and has participated on the

record. This TRO motion is thus nothing more than an effort to get a pre-bite at the

apple through a repackaged objection to the Debtors’ pending motion—a motion

that raises a fundamental question of bankruptcy law and that is currently and

properly being decided by the bankruptcy court. In any event, Plaintiff’s request

should be denied on the merits, as the law overwhelming provides that 3M’s

“identity of interests” with the Debtors requires a stay of all proceedings in this

MDL, and none of the other TRO factors support extraordinary relief. This Court

should deny the TRO.

      A.    Emergency Relief From This Court Is Not Warranted Because The
            Bankruptcy Court Is Deciding The Question Of Bankruptcy Law
            Presented in This Motion.
      Plaintiff plainly has not satisfied his burden of establishing an entitlement to

an emergency relief in the form of a TRO when the very question presented in his

motion is being considered—and will be shortly decided—by the bankruptcy court.

The law is clear that “the bankruptcy court’s conclusion governs” the question

whether the automatic-stay applies to this MDL. In re Stieg, 509 B.R. 148, 151-52

(Bankr. S.D. Ohio 2014). In other words, “the bankruptcy court from which the

automatic stay originated” has “the final say.” In re Mid-City Parking, Inc., 332

B.R. 798, 803-04 (Bankr. N.D. Ill. 2005); Richardson v. Koch L. Firm, P.C., No.



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1:12-CV-00631-JMS, 2012 WL 5904491, at *7 (S.D. Ind. Nov. 26, 2012) (same);

see also Chao v. Hosp. Staffing Servs., Inc., 270 F.3d 374, 384 (6th Cir. 2001) (“If a

state court and the bankruptcy court reach differing conclusions as to whether the

automatic stay bars maintenance of a suit in the non-bankruptcy forum, the

bankruptcy forum's resolution has been held determinative.”); BioConvergence LLC

v. Attariwala, 2020 WL 1915269, at *2-3 (S.D. Ind. 2020) (“the bankruptcy court

does possess the final word: If the non-bankruptcy court issues a finding as to the

application of the stay that the bankruptcy court deems erroneous, the bankruptcy

court’s resolution of this issue is determinative”). This Court appears to have

acknowledged as much during the status conference hearing this morning. See

07/27/2022 Tr. at 14:25-15:16, 15:22-25.

      The Second Circuit’s decision in In re Baldwin-United Corp. Litig., 765 F.2d

343, 348 (2d Cir. 1985), is instructive. In Baldwin, the Second Circuit held that a

district court’s exercise of its authority to determine the applicability of the

automatic stay was an abuse of discretion and the district court misused its equitable

power by issuing an injunction prohibiting the chapter 11 debtors from applying to

the bankruptcy court for any relief against any defendant in the applicable pending

multi-district litigation. Id. at 348. The Second Circuit found that “to whatever

extent a conflict may arise between the authority of the Bankruptcy Court to

administer this complex reorganization and the authority of the District Court to


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administer consolidated pretrial proceedings, the equities favor maintenance of the

unfettered authority of the Bankruptcy Court.” Id. at 348 (emphasis added). The

Second Circuit reasoned that although the district court had not enjoined the

bankruptcy court itself, the injunction “unduly interfere[d] with the proper

administration of the reorganization.” Id. The Second Circuit noted certain factors

weighed against the district court’s use of its equitable power, such as the paramount

interest of assuring uniformity of decision concerning the reach of the automatic stay

in the chapter 11 bankruptcy that involved “an extraordinarily large number of

claimants,” which is analogous to Aearo’s chapter 11 bankruptcy proceedings in

Indiana. Id. Thus, the equities did not warrant preventing the bankruptcy court from

construing its automatic stay and the Second Circuit vacated the injunction issued

by the district court. Id. at 349.

       In fact, the equities tip decisively against a TRO from this Court. Because

the bankruptcy court has the “final say” on the scope of the automatic stay, id., “if a

non-bankruptcy court proceeds under an erroneous interpretation of the stay, then

there is a risk that the entire action later will be declared void.” In re Sieg, 590 B.R.

at 151 (internal quotation marks omitted). “Under Section 362 of the Code, stay

violations are considered void ab initio, meaning that the violations are deemed

without effect and are rendered an absolute nullity.” In re Holder, 260 B.R. 571, 577

(Bankr. M.D. Ga. 2001); In re Credolawson, 546 B.R. 888, 892 (Bankr. N.D. Ga.


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2016) (same). There is no reason for this Court to insert itself into that process by

making its own pronouncement about the scope of the automatic stay—a

pronouncement that as a matter of well-settled law will give way to the bankruptcy

court’s ruling on the same question. 1

      B.     The Automatic Stay Applies To These Proceedings.
      Moreover, Plaintiff is unlikely to succeed on the merits of his motion,

precluding a TRO. Plaintiff is simply wrong that “only a debtor in bankruptcy

receives the protection of the Bankruptcy Code’s automatic stay provision.” Ex

Parte TRO Mot. at 2. It is well-settled that “the automatic stay under § 362(a)(1)

can be extended to third parties where ‘unusual circumstances’ exist,” and “[s]uch

unusual circumstances may be found ‘where there is such identity between the

debtor and the third-party defendant that the debtor may be said to be the real party

defendant and that a judgment against the third-party defendant will in effect be a

judgment or finding against the debtor.’” In re LTL Mgmt., LLC, 638 B.R. 291, 304

(Bankr. D. N.J. 2002) (quoting McCartney v. Integra Nat’l Bank N., 106 F.3d 506

(3d Cir. 1997)); see also In re Philadelphia Newspapers, LLC, 407 B.R. 606, 616

(E.D. Pa. 2009) (explaining that unusual circumstances exist warranting extension



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      Plaintiff’s effort to invoke the All Writs Act is a non-starter. Plaintiff cites no
bankruptcy court cases, and parties involved in mass tort litigation routinely file for
bankruptcy protection.


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of the stay to nondebtors when: “(i) the non-debtor and debtor enjoy such an identity

of interests that the suit of the non-debtor is essentially a suit against the debtor; or

(ii) the third-party action will have an adverse impact on the debtor’s ability to

accomplish reorganization”); In re W.R. Grace & Co., No. 01-01139 (JKF), 2004

WL 954772, at *2 (Bankr. D. Del. Apr. 29, 2004). “Numerous courts have

concurred” with this analysis. Chicago Title Ins. Co. v. Lerner, 435 B.R. 732, 735

(Bankr. S.D. Fla. 2010) (citing cases).

      Plaintiff also incorrectly claims that, “[w]here both the debtor and non-debtor

are separately liable for tortious conduct, there is no basis to extend a stay of

litigation to the non-debtor.” Ex Parte TRO Mot. at 2-3. In fact, “even assuming

direct liability exists, the analysis for whether an extension of the automatic stay is

warranted based on ‘unusual circumstances’ remains unaffected.” In re LTL Mgmt.,

638 B.R. at 308. The point is that “the debtor’s protection must be extended to enjoin

litigation against others if the result would be binding upon the debtor's

estate.” Robins, 788 F.2d at 999 (quoting In re Metal Ctr., Inc., 31 B.R. at

462). Accordingly, Plaintiff’s “‘joint tortfeasor’ argument does not preclude

extension of the automatic stay to” 3M. In re LTL Mgmt., 638 B.R. at 308.

      Indeed, because the automatic stay applies, Plaintiff’s motion violates the

stay, as it seeks a TRO against “any party acting on [3M’s] behalf” from seeking to

enjoin parties from pursuing Combat Arms litigation. Ex Parte TRO Mot. at 1-2.


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By its plain terms, the motion seeks to enjoin the Debtors—the party that filed the

TRO request on 3M’s behalf—from pursuing relief in Bankruptcy Court. This is a

black-and-white stay violation that this Court should not countenance.

                                 CONCLUSION

      For the foregoing reasons, the Court should deny Plaintiff’s motion for a TRO.



Dated: July 27, 2022                      Respectfully submitted,

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     CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 7.1(F)
     Pursuant to Local Rule 7.1(F), counsel for Defendants certify that this

memorandum contains 1,469 words.



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                           CERTIFICATE OF SERVICE

      I HEREBY CERTIFY this 27th day of July 2022, a true and correct copy of

the foregoing was electronically filed via the Court’s CM/ECF system, which will

automatically serve notice of this filing via e-mail to all registered counsel of record.



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